            Case 2:07-cr-00223-RSL        Document 11       Filed 06/06/07      Page 1 of 2




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )            Case No. 07-MJ-277-JPD
10         v.                             )
                                          )
11   IRENEO CRUZ-CRUZ, a/k/a              )            DETENTION ORDER
     LOUIS F. VILLALBA,                   )
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offenses charged:

15           (1)    Conspiracy to Distribute and to Possess with Intent to Distribute Cocaine in

16 violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846.

17           (2)    Conspiracy to Engage in Money Laundering in violation of 18 U.S.C. §

18 1956(h) and 2.

19 Date of Detention Hearing: June 6, 2007.

20           The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth,

22 finds:

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24           (1)    A detainer has been placed on defendant by Immigration and Customs

25 Enforcement.

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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
     PAGE 1
           Case 2:07-cr-00223-RSL          Document 11       Filed 06/06/07      Page 2 of 2




01          (2)     Defendant has stipulated to detention, due to the immigration detainer lodged

02 against him, but reserves the right to contest his continued detention if there is a change in

03 circumstances.

04          (3)     There appear to be no conditions or combination of conditions other than

05 detention that will reasonably assure the defendant’s appearance at future Court hearings.

06          IT IS THEREFORE ORDERED:

07          (1)     Defendant shall be detained pending trial and committed to the custody of the

08                  Attorney General for confinement in a correction facility separate, to the

09                  extent practicable, from persons awaiting or serving sentences or being held in

10                  custody pending appeal;

11          (2)     Defendant shall be afforded reasonable opportunity for private consultation

12                  with counsel;

13          (3)     On order of a court of the United States or on request of an attorney for the

14                  government, the person in charge of the corrections facility in which

15                  defendant is confined shall deliver the defendant to a United States Marshal

16                  for the purpose of an appearance in connection with a court proceeding; and

17          (4)     The Clerk shall direct copies of this Order to counsel for the United States, to

18                  counsel for the defendant, to the United States Marshal, and to the United

19                  States Pretrial Services Officer.

20                  DATED this 6th day of June, 2007.

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22
                                                          A
                                                          JAMES P. DONOHUE
                                                          United States Magistrate Judge
23

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     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
     PAGE 2
